                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 No. 7:25-MC-1-M-BM

IN RE:                           )
                                                  ORDER ON APPLICATION OF NOVO
                                 )
                                                    NORDISK A/S FOR AN EX PARTE
APPLICATION OF NOVO NORDISK A/S, )
                                                  ORDER PURSUANT TO 28 U.S.C. § 1782
FOR EX PARTE ORDER PERMITTING )
                                                   PERMITTING DISCOVERY FOR USE
DISCOVERY FOR USE IN FOREIGN )
                                                      IN FOREIGN PROCEEDINGS
PROCEEDINGS                      )

         This matter comes before the court on the application of Novo Nordisk A/S (“Novo”) for

an order, pursuant to 28 U.S.C. § 1782, [DE-1] (the “28 U.S.C. § 1782 application”) permitting

Novo to request that testimony be given and documents produced, by Dr. James McCabe (“Dr.

McCabe”), for use in pending proceedings in Singapore (the “Singapore proceedings”) and the

Cayman Islands (the “Cayman proceedings”) (together, the “foreign court proceedings”). Novo

has filed a motion [DE-7], with a memorandum in support thereof [DE-8], requesting expedited

consideration of its 28 U.S.C. § 1782 application [DE-1].

         For the reasons provided below, the court GRANTS Novo’s 28 U.S.C. § 1782 application

[DE-1].

                                       BACKGROUND

         Novo is a pharmaceutical company headquartered in Bagsværd, Denmark. [DE-1-1] at ¶2;

[DE-2] at 2. On October 20, 2023, Novo entered into an asset purchase agreement (“APA”) with

KBP Biosciences Pte. Ltd. (“KBP”), in which Novo acquired from KBP, inter alia, the rights to a

drug known as Ocedurenone for approximately $800 million. [DE-2] at 2. Prior to the execution

of the APA, KBP made certain representations to Novo related to the safety and efficacy of

Ocedurenone in a Phase 2 study in treating patients with uncontrolled hypertension across

subgroups, including geographical region. Id. at 2-3. Novo alleges that after the APA was




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executed, it learned that the positive Phase 2 results were disproportionately related to anomalous

results at a single clinical trial site in Bulgaria that showed a treatment effect not observed at any

of the 61 other sites in the study. Id. at 3. Novo further alleges that KBP was aware of the

Bulgarian site’s role in these anomalous results and shared information revealing this relationship

with another potential buyer, though not with Novo. Id.

       Based on these discoveries, Novo commenced legal action in Singapore and the Cayman

Islands seeking worldwide freezing orders against KBP and KBP Biosciences Holdings Limited

(“KBP Cayman”), respectively. 1 Id. at 5. The worldwide freezing orders seek to prevent KBP

from dissipating its assets to limit the enforcement of an award, if any, that Novo receives in an

international arbitration case it intends to file. Id. The Singapore and Cayman Islands courts (the

“foreign tribunals”) have issued worldwide freezing orders, as requested. Id. Novo asks for

expedited consideration of its application because KBP submitted an application to set aside the

freezing order in the Singapore court. [DE-7-1] at 2.

       Novo represents that Dr. James McCabe resides within this district in Wilmington, North

Carolina. [DE-2] at 3. Based on Dr. McCabe’s LinkedIn page, KBP employed him from

approximately August 2019 to November 2024, with his final role being that of Chief Medical

Officer. See [DE-1-9]. Novo alleges that “Dr. McCabe oversaw the clinical trial sites, including

the Bulgaria site, and participated in meetings for the trial.” [DE-2] at 4. In June 2020, Dr.

McCabe allegedly sent a letter raising data integrity and data entry concerns related to the conduct

of the trials at the Bulgaria site. Id. Novo notes that KBP never shared these concerns with Novo.

Id.



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           The proceedings in the Cayman Islands are against KBP’s parent company, KBP Cayman. See [DE-2] at
5.
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                                APPLICABLE LEGAL PRINCIPLES

           Section 1782(a) allows, but does not require, a district court to order discovery of non-

privileged matters for use in a foreign tribunal when certain requirements are satisfied. See 28

U.S. Code § 1782(a); see also Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 255,

124 S. Ct. 2466, 2478, 159 L. Ed. 2d 355 (2004).

           The Fourth Circuit notes four mandatory requirements for the issuing of an order under the

statute:

           (1) The application must be made to the “district court for the district in which the
           person resides or is found”; (2) the application must come from “an interested
           person” or a foreign tribunal; (3) the application must seek evidence, including
           “testimony” or “a document”; and (4) the evidence sought by the application must
           be “for use in a proceeding in a foreign or international tribunal.”

In re Newbrook Shipping Corp., 31 F.4th 889, 894 (4th Cir. 2022) (quoting 28 U.S. Code §

1782(a)).

           The Fourth Circuit also highlighted four factors based on the Supreme Court’s discussion

in Intel that guide the court’s broad discretion in the issuance of an order under § 1782(a) (the

“Intel discretionary factors” or “Intel factors”):

           (1) the involvement of “the person from whom discovery is sought” in the foreign
           proceeding, (2) “the nature of the foreign tribunal, the character of the proceedings
           underway abroad, and the receptivity of the foreign government, court or agency to
           U.S. federal-court judicial assistance,” (3) “whether the § 1782(a) request conceals
           an attempt to circumvent foreign proof-gathering restrictions or other policies of a
           foreign country or the United States,” and (4) whether the request is “unduly
           intrusive or burdensome” in which case it “may be rejected or trimmed.”

In re Newbrook Shipping Corp., 31 F.4th at 896 (quoting Intel, 542 U.S. at 264–65, 124 S.Ct.

2466); see also In re Banco Mercantil del Norte, S.A., 126 F.4th 926, 930 (4th Cir. 2025) (same).




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                                         DISCUSSION

       As Novo acknowledges, the instant application was filed ex parte. [DE-1] at 1. Novo cites

to an order from the District Court of the Northern District of California, see [DE-1-13], In re Ex

Parte Application of Novo Nordiskais, No. 3:25-mc-80067-JSC (N.D. Cal. Mar. 17, 2025), as an

instructive precedent for the instant case. Id. While the California application was also filed ex

parte, Novo affirmatively represented in that case that the target did not object to the discovery.

See In re Ex Parte Application of NOVONORDISKAIS, [DE-1-13] at 3. Novo makes no such

representation here. See [DE-2] at 10 (expressly requesting the order be granted ex parte based on

“the target having a chance to later challenge the discovery order.”) (quoting In re Newbrook

Shipping Corp., 31 F.4th at 892).

       While § 1782 applications are often decided ex parte, the resulting discovery orders are

often specified to be without prejudice to the target later challenging the discovery order. See In

re Newbrook Shipping Corp., 31 F.4th at 892 (4th Cir. 2022) (citing Brandi-Dohrn v. IKB

Deutsche Industriebank AG, 673 F.3d 76, 82 (2d Cir. 2012)). Accordingly, the court makes the

below findings solely based on the current record before it and without prejudice to the ability of

Dr. McCabe to petition the court to modify or quash the subpoena, based on contradictory or

additional evidence, privilege or otherwise, in accordance with applicable law, including the

Federal Rules of Civil Procedure and the Local Civil Rules of this court.

       Applying the statutory and discretionary factors to the instant case, the court finds that an

order under § 1782(a) is appropriate based on the facts and circumstances currently before the

court. First, as noted above, Novo includes a print-out of Dr. McCabe’s LinkedIn page indicating

that he is located in Wilmington, North Carolina, which is a city in this district. [DE-1-9] at 2.

Novo also includes an affidavit from its attorney that the print-out of Dr. McCabe’s LinkedIn page

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is a true and accurate copy of such page when it was last accessed on March 18, 2025. [DE-1-10]

at 2. Accordingly, the court finds for purposes of the instant order that Dr. McCabe currently

resides or is found in this district.

        Second, Novo is a party to the foreign court proceedings by virtue of its application for the

worldwide freezing order in each of the foreign court proceedings. See [DE-2] at 5.

        Third, the application is seeking the testimony of and documents from Dr. McCabe, which

are categories of discovery expressly permitted by the statute. See [DE-1] at 1; see also 28 U.S.

Code § 1782(a); Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 248, 124 S. Ct. 2466,

2474, 159 L. Ed. 2d 355.

        Fourth, Novo contends that the testimony will support its position that “the worldwide

freezing orders should not be set aside because there is a good arguable case of fraud and/or a

serious issue to be tried with respect to fraud, and there is a risk that the KBP [d]efendants will

dissipate their assets.” [DE-2] at 7. The court finds that the litigation surrounding the worldwide

freezing order is proceeding sufficient to satisfy the “for use” requirement. See [DE-1-13] at 3-4

In re Ex Parte Application of Novo Nordiskais, No. 3:25-mc-80067-JSC (N.D. Cal. Mar. 17, 2025)

(considering the same Singapore and Cayman worldwide freezing orders to satisfy the

requirements of § 1782); HRC-Hainan Holding Co. v. Yihan Hu, No.19-mc-80277-TSH, 2020 WL

906719, at *8-9 (N.D. Cal. Feb. 25, 2020) (court action to preserve assets for arbitration award

met “for use” requirement); In re JSC BTA Bank, 577 F. Supp. 3d 262, 266-67 (S.D.N.Y. 2021)

(granting discovery when it was for use to amend and enforce existing freezing orders). As the

information sought from Dr. McCabe appears to be foundational to the matters in dispute,

including the propriety of a worldwide freezing order, the court finds “a reasonable possibility that



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the evidence sought ‘will be employed with some advantage or serve some use in the proceeding.’”

Id. (quoting Mees v. Buiter, 793 F.3d 291, 298 (2d Cir. 2015)).

       Accordingly, the court finds that the instant application satisfies the four § 1782 mandatory

factors. This finding alone does not end the court’s analysis. “[E]ven where these four statutory

conditions are satisfied, the district court retains discretion in granting or denying these orders.”

Id. at 896 (citing Intel, 542 U.S. at 247, 124 S.Ct. 2466).

       With respect to the Intel discretionary factors, the court makes the following findings.

First, the Supreme Court found that the need for § 1782(a) aid is more apparent when evidence is

sought from a nonparticipant in the matter arising abroad than when it relates to a party. See Intel,

542 U.S. at 264, 124 S. Ct. at 2483. Despite being a former employee of KBP, there is no evidence

that Dr. McCabe is currently a party to the foreign proceedings. See [DE-1-1] at ¶15 (affidavit of

Novo’s Singapore counsel attesting that Dr. McCabe is not a party to the Singapore proceedings);

[DE-1-5] at ¶15 (affidavit of Novo’s Cayman counsel attesting that Dr. McCabe is not a party to

the Cayman proceedings); see also [DE-1-9] at 2 (print-out of Dr. McCabe’s LinkedIn page

indicating that he is no longer employed by KBP). Accordingly, the first discretionary factor

weighs towards granting the order based on the current record before the court.

       With respect to the second Intel factor, Novo includes two affidavits indicating that the

foreign tribunals would not view this court’s issuance of a subpoena as representing a violation of

comity or policy in their respective jurisdictions and are in fact receptive to relevant evidence

lawfully obtained in other jurisdictions, including the United States. See [DE-1-1] at ¶¶17-18 (with

respect to Singapore); [DE-1-5] at ¶¶17-18 (with respect to the Cayman Islands). The court notes

that other courts in the United States have allowed § 1782 applications related to proceedings in

Singapore and the Cayman Islands. See In re Third Eye Cap. Corp., No. CV 22-963 (MAH), 2022

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WL 714758, at *3 (D.N.J. Mar. 10, 2022) (granting discovery “for use in [a] Singapore Action”);

In re Application of Temp. Servs. Ins. Ltd., No. 09-mc-48S, 2009 WL 2843258, at *2 (W.D.N.Y.

Aug. 28, 2009) (granting discovery for “proceeding . . . pending in the Cayman Islands”).

Accordingly, the court finds the evidence in the current record supports the second Intel factor.

       On the third Intel factor, the affidavits included in support of Novo’s application both attest

that Novo is not circumventing any established law or policy in the foreign tribunals through the

instant application. See [DE-1-1] at ¶19; [DE-1-5] at ¶19. The court is not aware of any evidence

to the contrary. Accordingly, at the instant juncture, the court finds that this discretionary factor

weighs in favor of granting the application.

       With respect to the final Intel factor, Novo represents that it seeks:

       narrow categories of documents and related testimony regarding: KBP’s selection
       and oversight of the Bulgaria Site during the Phase 2 and Phase 3 studies . . . ;
       analyses of interim and final results from the studies . . . ; information shared with
       Otsuka and other potential transaction partners but withheld from Novo during due
       diligence for Ocedurenone . . . ; and [KBP Cayman’s founder’s] involvement in the
       clinical trials or due diligence with potential transaction partners . . .

[DE-2] at 9-10.

       Based on the court’s review of the proposed subpoenas ([DE-1-11]; [DE-1-12]), the court

concludes, for purposes of the current stage of the proceedings and without prejudice to any

objections to the subpoenas, that the subpoenas are neither unduly intrusive nor burdensome.

       As noted above, the court’s analysis of the above questions is inherently limited by the ex

parte nature of the current proceedings. Accordingly, as noted above, Dr. McCabe may make a

motion to modify or quash the subpoenas or otherwise seek relief, in accordance with applicable

law, including the Federal Rules of Civil Procedure and the Local Civil Rules of this court.




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                                      CONCLUSION

       For the reasons provided above, Novo’s 28 U.S.C. § 1782 application [DE-1] is

GRANTED. Novo is permitted to issue and serve its proposed subpoenas to Dr. McCabe. In light

of the instant order, Novo’s motion for expedited consideration [DE-7] of its 28 U.S.C. § 1782

application is DENIED AS MOOT.

       SO ORDERED, this 2nd day of April, 2025.



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                                              Brian S. Meyers
                                              United States Magistrate Judge




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